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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
PHILADELPHIA DIVISION

THE INDEPENDENCE PROJECT, INC., a New :
Jersey Non Profit Corporation, ;

Plaintiffs, ;
vs. ; Case No.:
2:18-cv-03846-CFK
ODYSSEY FOODS OF PENNSYLVANIA, LLC, :
a Pennsylvania Limited Liability Company,

Defendant(s). 3
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NOTICE OF VOLUNTARY DISMISSAL

COMES NOW Plaintiff, THE INDEPENDENCE PROJECT, INC., a New Jersey Non-
Profit Corporation, by and through undersigned counsel, and herein files this Notice of
Voluntary Dismissal without Prejudice against the Defendant, Odyssey Foods of Pennsylvania,
LLC, a Pennsylvania Limited Liability Company.
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 16th day of April, 2019, the Notice of Voluntary
Dismissal has been electronically filed with the Court via the CM/ECF system, and hereby
served via Regular US Mail to Defendant: Odyssey Foods of Pennsylvania, LLC, 2359 W.
Oregon Avenue, Philadelphia, PA 19145.

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John B. Fuller, Esquire, pro hac vice David 8. Dessen, Esquire, PA Bar No. 17627
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